               Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1302 Page 1 of 76




                       1    McCormick, Barstow, Sheppard,
                            Wayte & Carruth LLP
                       2    Scott J. Iv)^ #197681
                             Scott.Ivy(mmccormickbarstow, com
                       3    Devon R. McTeer #230539
                             Devon. Mcteer@mccormickbarstow. com
                       4    Jared Gordon, #227980
                             Jared. Gordon@mccormickbarstow. com
                       5    7647 North Fresno Street
                            Fresno, California 93720
                       6    Telephone: (559) 433-1300
                            Facsimile: (559) 433-2300
                       7
                            Attorneys for Plaintiff, SATMODO, LLC
                       8

                       9                             UNITED STATES DISTRICT COURT

                       10                       SOUTHERN DISTRICT OF CALIFORNIA

                       11

                       12   SATMODO, LLC, a California limited           Case No. 17-CV-0192-AJB NLS
                            liability company.
                       13                                                SUPPLEMENTAL DECLARATION
                                        Plaintiff,                       OF SCOTT J. IVY IN RESPONSE
                       14                                                TO ORDER ON JOINT MOTION
                                  V.                                     FOR DETERMINATION OF
                       15                                                DISCOVERY DISPUTE NO. 1 (ECF
                            WHENEVER COMMUNICATIONS,                     57)
                       16   LLC, d.b.a. SatellitePhoneStore.com, a
                            Nevada limited liability company.            Judge: Hon. Nita L. Stormes
                       17   HENAA BLANCO, an individual, and
                            DOES 1 through 50, inclusive.
                       18                                                Action Filed: February 1, 2017
                                        Defendants.                      Trial Date:   May 6, 2019
                       19

                       20

                       21         I, Scott J. Ivy, declare as follows:
                       22         1.    I am an attorney duly admitted topractice before the Courts ofthe State of
                       23   California and before this Court. I am Of Counsel in the law firm of McCormick,
                       24   Barstow, Sheppard, Wayte & Carruth LLP, attorneys of record for Plaintiff,
                       25   SATMODO, LLC ("Plaintiff) in the above-entitled action. If called as a witness, I
                       26   would and could competently testify to all facts stated herein from my personal
                       27   knowledge except where stated upon information and beliefand, astothese matters, I
                       28   am informed and believe them to be true.
McCormick, Barstow,                                                                               17-CV-0192-AJB NLS
 SHEPPARD.WAYTE&
     CARRUTH LLP              SUPPLEMENTAL DECLARATION OF SCOTT J. IVY IN RESPONSETO ORDER ON JOINT MOTION
7647 NORTH FRESNO STREET
    FRESNO. CA 63720
                                            FOR DETERMINATION OF DISCOVERY DISPUTE NO. 1 (ECF 57)
               Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1303 Page 2 of 76




                       1          2.     I am submitting this SupplementalDeclaration in response to the Court's
                       2    Order on Joint Motion for Determination of Discovery Dispute No. 1 (EOF 57).
                       3          3.     The Parties' Joint Motion for Determination of Discovery Dispute No. 1
                       4    ^ECF 51) involved Satmodo's Special Interrogatories asking Defendants to provide
                       5    certain identifying information regarding all computing devices used by it or its
                       6    employees for business purposes during the relevant time period, and the companion
                       7    request for inspection of devices identified in those verified responses.
                        8         4.     Prior to the filing of theJoint Motion, Defendants had refused to provide
                       9    verified responses to the Interrogatories, and had only provided an unverified "List"
                       10   (List No. 1) of certain devices that Plaintiff contended was unverified, incomplete,
                       11   suspect, and failed to provide the information sought in the Interrogatories at issue.
                       12   (ECF 53 at2-3, Exh B; ECF 57 at 5-6) The Court acknowledged those concerns, and
                       13   ordered that "Defendants must provide a verified response to Interrogatories 1-5 by
                       14   August 10, 2018." (ECF 57 at 6). The Court also ordered the parties to meet and
                       15   confer to proceed with inspections of the devices identified in the Supplemental
                       16   Responses within 30 days of the Order. (ECF 57 at 8-10)
                       17          5.    On August 10, 2018, Defendants responded to the Court's Order by
                       18   providing Plaintiffwith another unverified list ofdevices with some ofthe information
                       19   sought by the Interrogatories, but no verified responses to the Interrogatories at all.
                       20   (Attached as Exhibit Ato this Declaration is a two page summary ofthe new List of
                       21   Devices ("List No. 2") compiled from the unverified documents provided by
                       22   Defendants, which are included after the summary.
                       23          6.    I have previously notified Defendants' counsel that Defendants must
                       24   provide verified responses tothe Interrogatories, and not justanother unverified list, to
                       25   allow us sufficient confidence and protection to proceed with the expense of the
                       26   inspection ordered bythe Court. (Attached as Exhibit B are copies ofcorrespondence
                       27   exchanged following receipt of the Court's Order). To date, we have received no
                       28
McCormick, Barstow,                                                     O                               17-CV-0192-AJBNLS
 Sheppard, Wayte &
     Carruth LLP              SUPPLEMENTAL DECLARATION OF SCOTT J. IVY IN RESPONSE TO ORDER ON JOINT MOTION
7847 NORTH FRESNO STREET
    FRESNO. CA 93720                         FOR DETERMINATION OF DISCOVERY DISPUTE NO. I (ECF 57)
               Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1304 Page 3 of 76




                       1    further responseto these communications, nor any VerifiedSupplemental Responsesto
                       2    the Interrogatories that were the subject of the Joint Motion.
                       3          7.     My concerns withthe new "ListNo. 2" arethe same concerns we hadwith
                       4    List No. 1that precipitated the JointMotion and the Court's Order, i.e., it is unverified,
                       5    incomplete, and in fact contradicts muchof List No. 1,whichhighlights and reinforces
                       6    our concerns with the original unverified List. (EOF 57 at 6-8) As noted in the Joint
                       7    Motion and the Court's Order, Defendants' contended List No. 1 "represented an
                       8    inventory of the"IP addresses for employees who used their own devices for business
                       9    purposes," and this listcontained 24 cell phones of various employees who used these
                       10   devices for business purposes. (EOF 57 at 6, EOF 53 at 2-3, Exh B). Yet, in response
                       11   to the Court's Order that Defendants provide Supplemental Responses to the
                       12   Interrogatories to allow Plaintiff to proceed with inspections, the unverified "List 2"
                       13   does not include a single cell phone or tablet for any employees other thanDefendant
                       14   Tina Blanco, and specifically omits the 20+ cell phones that Defendants had previously
                       15   listed onList 1asbeing used byemployees forbusiness purposes. (Compare ECF 53 at
                       16   Exh B ("List 1"), with Exhibit A to this Declaration ("List 2").
                       17          8.     While Plaintiffhas made a good faith effortto comply withthe deadlines
                       18   set forth in the Court's Order re Joint Motion No. 1, Plaintiff cannot proceed with the
                       19   time and expense involved with the inspections ordered by the Court without some
                       20   confidence in the universe ofdevices, i.e. the information sought by the Interrogatories
                       21   for ALL computing devices used by Defendant or its employees for business purposes
                       22   during the relevant time period.
                       23   ///

                       24   ///

                       25   ill

                       26   III

                       27   III

                       28   III
MCCORMICK. BARSTOW,                                                      1                            17-CV-0192-AJBNLS
 SHEPPARD. WAVTE &
     Carruth LLP              SUPPLEMENTAL DECLARATION OF SCOTT J. IVY IN RESPONSE TO ORDER ON JOINT MOTION
7M7 NORTH FRESNO STREET
    FRESNO. CA S3720
                                             FOR DETERMINATION OF DISCOVERY DISPUTE NO. 1 (ECF 57)
               Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1305 Page 4 of 76




                       1             I declare under penalty ofperjury under the laws ofthe United States ofAmerica
                       2    that the foregoing is true and correct and that this Declaration was executed by me on
                       3    August 22, 2018, at Fresno, California.
                       4

                       5                                                                 /s/ Scott J. Tw
                                                                                          Scott J. Ivy
                       6                                                                     Email:
                                                                                 Scott.Ivy@mccormickbarstow. com
                       7
                                                                                     Attorneys for Plaintiff
                        8                                                              SATMODO, LLC
                       9    18265-00000 5297257.


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MCCORMtCK, BARSTOW,                                                                                        17-CV-0192.AJB NLS
 Sheppard, WAYTE &
   Carruth LLP                 SUPPLEMENTAL DECLARATION OF SCOTT J. IVY IN RESPONSE TO ORDER ON JOINT MOTION
7647 NORTH FRESNO STREET
    FRESNO. CA 93720
                                                   FOR DETERMINATION OF DISCOVERY DISPUTE NO. 1 (ECF 57)
                Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1306 Page 5 of 76




                        1         SATMODO, LLC v. WHENEVER COMMUNICATIONS, LLC, d.b.a.
                                                 SatellitePhoneStore,com, et al.
                       2
                            United States Eastern District of California, Southern District of California Case No.
                       3                                   17-CV-0192-AJB NLS

                       4    Exhibits To:
                            SUPPLEMENTAL DECLARATION OF SCOTT J. IVY IN RESPONSE TO ORDER
                       5    ON JOINT MOTION FOR OF DISCOVERY DISPUTE NO. 1 (ECF 57)
                       6
                                           DESCRIPTION                       LOCATION              PAGE NO.
                       7
                             Copy of List#2 Device List Generated             Exhibit A
                        8    From WC 000234 to 000301 Produced
                             August 2018
                       9

                       10
                             Copies of correspondence exchanged                                         62
                             following receipt of the Court's Order            Exhibit B
                       11

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                       28
McCORMICK,BARSTOW,                                                                                 17-CV-0I92-AJBNLS
 SHEPPARD,WAYTE &
     CARRUTH LLP              SUPPLEMENTAL DECLARATION OF SCOTT J. IVY IN RESPONSE TO ORDER ON JOINT MOTION
7647 NORTH FRESNO STREET
    FRESNO. CA 93720                      FOR DETERMINATION OF DISCOVERY DISPUTE NO. 1 (ECF 57)
                 Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1307 Page 6 of 76
                                                                                         LIST #2
                                                DEVICE LIST GENERATED FROM WC 000243 TO 000301 PRODUCED AUGUST 2018

                                            B                                                                                                                               H
               DEVICE                MAKE/MODEL                 SERIAL NUMBER   | OPERATING SYSTEM |             TIME PERIOD               USERS       LOCATION          STATUS

      DESKTOP-6JNPS39 |Dell Optiplex 7010               CXH08Y1                  Windows 10              June, 2017 to present
                                                                                                                                   Ryan and Nolito
                                                                                                                                   "spsl"
                                                                                                                                                       Alaska      still In Use


      Laptop "Bryant" {asus TPSOOLA                         EBNOWU039533459      Windows 10 Home         Pre 2016 to present
                                                                                                                                   Ryan and Nolito
                                                                                                                                                       Alaska      still In Use

      Laptop "Callie"           Asus TPSOOLA            ^bnowuo^^                Windows 10 Home         Pre 2016 to present       ["Callie Parsons"   Florida     still in use
      Office PC-Callie's                                                                                                           Callle, see         Florida
                                HP HPE-lSOt             2MF01906B1               Windows 10 Pro          2010 to present                                           still in use
      computer "Callie"                                                                                                            screenshot          Store
      Office PC, Ace
      tower, PC name =          Acer Aspire TC 780 DTB889AA00865100B9A3000       Windows 10 Home |Mid 2017 to present              Janice
                                                                                                                                                       Florida
                                                                                                                                                                   still in use
      "Janice"
      Sarasota Lobby PC
                                HP All-in-One           iTJ1708ND5J              Windows 10 Home         (1/16/16) to present      "User"              Florida     still in use
      "srqfrontdemo"
      Office PC, Robert's                                                                                                          Filip, Robert, SPS- Florida
                                HP HPE-S70twm           2MF1020W99               Windows 10 Pro          Pre 2016 to present                                       still in use
      computer "Robert"                                                                                                            Guest               Office
      Office PC, Ron's          HP Tower Rfrb HPE- 2MF1020W99 Same as above
                                                                                 Windows 10 Pro          Pre 2016 to present       Ron                 Florida     still in use
      computer                  570tw                   I?
      Office PC, Roxie's                                                                                                           Roxie, See
      computer                  jHP Rfrb HPE-SlOt       2MF1030K4T               Windows 10 Pro          Pre 2016 to present       screenshot          Florida     still in use

i2. "srqfrontdesk"              j                                                                                                  below
                                                                                                                                                       Florida
      Laptop "PC"               lASUS                       EAN0WUS12181443      Windows 10 Home         Pre 2016 to present       SEANN                           still in use
11                                                                                                                                                     Store
      Lenovo Tower PC                                                                                                                                  Florida
                                1Lenovo Tower               R303QJVG             Windows Home 10         Aug-17                    Seann                           still in use
12 name ="seann"                                                                                                                                       ^qre
                                                                                                                                   Tina, see
      OFFICE TOWER                                                                                                                 attached            Florida
                                Dell Inspiron 620       5WVP5V1                  Windows 10 Pro          Pre 2016 to present                                       still in use
      "Tina"                                                                                                                       screenshot of       Office
_33                                                                             J                                                  user dir.
                          HP Tower pavilion                                                                                                            Florida
      Office PC, Tom's PC ..                |2MF00307wy                          Windows 7 Pro           Pre 2016 to present       Tricci, (Tom)                   still in use
14                              slimline                i                                                                                              Office
                                                                                                             November 2017 to      Saul, Filip, Sherri, Mexico
      Laptop "Joel-SPS"         HP Notebook             j3CE6074F0C                 Windows 10 Home                                                                still in use
15                                                                                                       present                   Tyler       _       Store
      Laptop DESKTOP-                                                                                        November 2017 to                          Mexico
                                HP ENVYx360                 8CG7313NW8              Windows 10 Home                                Osiris                          still in use
      L4G45DR                                                                                            present                                       Store
      Office PC - pc name                                                                                pre 1-16-2016 to
                                Dell Optiplex 960           7NQMRH1                 Windows 10 Pro                                 "Owner"             San Diego   still in use
      = "Anna"                                                                                           present
      Office PC Laptop,
      Barry's laptop.           IHP Envy                    8CG73218YB               Windows 10 Home         2018 to present       "Barry              San Diego   still in use
18    "Desktop-
      Office PC-Barry's
      office. Pc name = Dell Optiplex 9020 BKM8SD2                                   Windows 7 Pro       Oct, 2016 to present       "Barry             San Diego   still In use
19 'Barry-pc'
   Office PC, Crystal's Lenovo Desktop                                                                   pre 1-16-2016 to          "Sue" Crystal and
                                           ES10820753                               Windows 7 Ultimate                                               San Diego     still in use
20 Office "Crystal"     Tower                                                                            present                   Tina used this pc
   Laptop Eric's laptop                                                                                                                                San Diego
                        HP Spectre x360    5CD618S8KD                                Windows 10 Home         Pre 2016 to present   Eric and Osiris                 still in use
21 "Desktop-SDEUPLB"
                                                                                                                                   "Administrator"
      Office PC - Tower,
                                    HP e9250t               MXY95100NJ               Windows 10 Pro          Pre 2016 to present   "Rachel" Eric's     San Diego   still in use
      Eric's PC
22                                                                                                                                 computer
      Office PC - Filip's i                             j                                                    pre 1-16-2016 to
      desk pc name =            jDell Inspiron 580 JSB4LM1                       IWindows 10 Home
                                                                                                             present
                                                                                                                                                       San Diego   still in use
23    "filip-pc"                i
      Office PC-            i
      Front/Reception               DellOptiplex 990        DS7R0R1                  Windows 10 Pro      IAugust 2018 to present    "SPS Admin         San Diego
_24   Desk, Thikra's pc         i                                                                        I
      iPhone-Tina's
                                [Apple iPhone           |C39WH2TKJCLR            liOS
                                                                                 1
                                                                                                         June 2018 to present                          San Diego   still in use
      current iPhone
      iPhone-Tina's old jApple iPhone                   If2LNQ845G5QL            |ios                    [pre 1-16-2016 to
                                                                                                                                                       San Diego
                                                                                                                                                                   no ionger in
26 iPhone                                               i                                                [August 2016                                              use

                                                                                                         [August 2016 toJune
_27
      iPhone - Tina's old
      iPhone
                                    Apple iPhone        1fCCSG2BTGRXK            |iOS                        2018
                                                                                                                                                       San Diego
                                                                                                                                                                   no longer in
                                                                                                                                                                   use

      Office PC-pc name
                                                                                 {windows 7Pro           IPre 1-16-2016 to                             San Diego
                                    Dell Optiplex 960       68X0TH1                                                                  owner                         in use
                                                                                                         [present
ii    = "Jeff'
                                                                                1
      Office PC Laptop pc
                                lAsus Laptop                GBN0CV12Y72846F      [Windows 10 Home        [August 2017 to present spasovskf             San Diego
 29 name = "Marco"




                                                                                EXHIBIT A - 01
              Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1308 Page 7 of 76
                                                                                    LIST #2
                                            DEVICE LIST GENERATED FROM WC 000243 TO 000301 PRODUCED AUGUST 2018

     1           A                      B                      C                           D                   E                        F          6
                                                                                                                                                                   "         1
     Office PC - Rafael's
                             Lenovo Tower         ES10342761                   Windows 7 Ultimate   Jan 2016 to Present      "Rafael"         San Diego   in use
30 computer
     Office PC, Barry old                                                                           Feb 2016 to March                                     Barry. System
                             Dell Optiplex 980    D92RKM1                      Windows 7 Pro                                 Barry            San Diego
31 PC                                                                                               2018                                                  does not boot
                                                                                                                                                          Device at office
     Office PC - pc
                                                                                                    April 2018 to August     "User" and                   but not in use.
     retired from front      Dell Optiplex        77YCNS1                      Windows 10 Pro                                                 San Diego
                                                                                                    2018                     "Thikra"                     Last used by
     desk
32                                                                                                                                                        Thikra
                                                                                                                                                          Sue, not (sic
     Office PC Laptop,                                                                              August 2016 to June
                             Asus                 E9N0WU415042396              Windows 8.1                                   "Sue"            San Diego   "no") longer in
     Sue's old laptop                                                                               2018
33                                                                                                                                                        use.
     Office PC, Thikra old                                                                          Pre 1-16-2016 to April                                Thikra. System
                             Lenovo Tower         ES10798057                   Windows 7                                     Thikra           San Diego
34 old PC.                                                                                          2018                                                  does not boot
     Office PC, Tina old     Black Box PC,                                                                                                                Tina. System
                                                  n/a, system does not boot    Windows 7            pre 2016 to June 2017    Tina             San Diego
35 PC                        Thermaltake Case                                                                                                             does not boot
                                                                                                    Pre 1-16-2016 to May                                  Trinh. System
     Office PC               Lenovo ideacentre    ES10352865                   Windows 7                                     "Trinh"          San Diego
36                                                                                                  2018                                                  does not boot
     Office PC
                             HP All-ln-One 24-
   Showroom Kiosk 1 -                             8CC8120VF1                   Windows 10 Home      ???                      "SPSl"           San Diego   still in use
                      e014
37 Lobby computer
     Office PC
                                                                                                    r                        "User"
     Showroom Kiosk 2 - HP All-ln-One Envy TJ1704MVT5                          Windows 10 Home      June 2018 to present                      San Diego   still in use
                                                                                                                             "DefaultuserO"
38 Lobby computer
   Office PC-Kiosks          HP All-ln-One 24-
                                                  8CC8130MB7                   Windows 10 Home      June 2018 to present     "SPS2"           San Diego   still in use
39 "SANL0BBY2"               e014
     Office PC - Sue's
     Laptop                  Asus laptop          H5N0WU16985621D              Windows 10 Home      August 2018 to present "SueAsus"          San Diego   still in use
40 "SueLaptopAsus"
     Office PC - Senna's
                             Lenovo IdeaCentre                                                      Pre 1-16-2016 to
   (aka Sue) office. Pc                           ES10342099                   Windows 7 Ultimate                            "Senna"          San Diego   still in use
                             Tower                                                                  present
41 name = 'Senna-pc'
   Office PC, Tina's
   Office pc name =          Dell Optiplex 9020   BKX6SD2                      Windows 7 Pro        Oct. 2016 to present     "Tina"           San Diego   still in use
42 "Tina-PC"
     Office PC, Trinh's
                                                                                                    Pre 1-16-2016 to
     office "Desktop-        Dell Optiplex 990    9K7GVR1                      Windows 10 Pro                                "user" Trinh     San Diego   still in use
                                                                                                    present
43 PI2sv42"
   Office PC Laptop,
   Tyler's laptop.           HP Envy              8CG73218Z2                   Windows 10 Home      2018 to present          "Tyler"          San Diego   still in use
44 'Tylerslaptop"
   Office PC - Tyler's       HP Pavilion
                                                  2MF10208T5                   Windows 10 Pro       Jan-18                   User = Tyler     San Diego   stili in use
45 desk                      Slimline
     Home PC at Tina's                                                                                                                        Las Vegas
                             Dell Optiplex 9010   48G2XX1                      Windows 7 Pro        Pre 2016 to present      Tina                         still in use
46 house "Tina-PC"                                                                                                                            NV




                                                                              EXHIBIT A - 02
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1309 Page 8 of 76




                         Whenever Communications Computing Device Inventory Item

   Description of device

    DESKTOP-6JNPS39




   Make and Model

    Dell Optiplex 7010



   Serial number or unique ID

    CXH08Y1




   Operating System of device

    Windows 10




   Time period in use between 1/16/2016 to present

    June, 2017 to present



   All users of device during same time period

     Ryan and Nolito "spsl"



   Locations of equipment during same time period

    Alaska




   If device is no longer in use, last person to have custody

     Still in use




   Browser history Search results for "Satmodo"

   Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                   WC 000243



                                               EXHIBIT A - 03
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1310 Page 9 of 76




                            whenever Communications Computing Device Inventory item

   Description of device

    Laptop "Bryant"



   Make and Model

    Asus TP500LA




   Serial number or unique ID

    EBN0WU039533459




   Operating System of device

    Windows 10 Home




   Time period in use between 1/16/2016 to present

     Pre2016 to present



   All users of device during same time period

     Ryan and Nolito "Ryan"



   Locations of equipment during same time period

    Alaska




   If device is no longer in use, last person to have custody

    Still in use




    Browser history Search results for "Satmodo"
   Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000244



                                               EXHIBIT A - 04
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1311 Page 10 of 76




                            Whenever Communications Computing Device Inventory Item

    Description of device

     Laptop "Callie"



    Make and Model

     Asus TP500LA




    Serial number or unique ID

     EBN0WU039495459




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     Pre-2016 to present



    All users of device during same time period

     'Callie Parsons"




    Locations of equipment during same time period

     Florida




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000245



                                                EXHIBIT A - 05
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1312 Page 11 of 76




                         Whenever Communications Computing Device Inventory Item



    Description of device

     Office PC-callie's computer "Callie"



    Make and Model

     HP HPE-150t




    Serial number or unique ID

     2MF01906B1




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     2010 to present



    All users of device during same time period

     Callie, see screenshot



    Locations of equipment during same time period

     Florida Store




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"

    Chrome: Found 7 search results for 'satmodo'

    Aug 1, 2018 2018-04-23 BOLES, Thrika Deposition Transcript,.pdf docs.herronlawapc.com




                                                                                            WC 000246



                                                EXHIBIT A - 06
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1313 Page 12 of 76




    Jul 27, 2018 2018-04-23 BOLES, Thrika Deposition Transcript,.pdf docs.herronlawapc.conn

    Jul 26, 2018 2018-04-23 BOLES, Thrika Deposition Transcript,.pdf docs.herronlawapc.com

    Jul 25, 2018 2018-04-23 BOLES, Thrika Deposition Transcript,.pdf docs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com

    Edge = no results found

    IE = no results found

    Firefox = no results found


                             Users

                                           Virv<


     •f"                t"       - This PC > HPyC:)        > Users >

                                          Mamc                                    Date Tiacn'cd          Tycc
           it Quick access
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           cSk OneOiive
                                             SPSmail                              • •B''?014i-:0'i PM    F'k folder
           KP This PC                       • tortega                                       11:5a AM     File fiddt'

                                             USER                                 v;i •?;'13 7:43 PM     Fir Fo dr-"
              Netv»/crk
                                             yrangzhiseng                         'l-7^77t:'712:-P       F<k fiidiyr




                                                                                                                         WC 000247



                                                                       EXHIBIT A - 07
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1314 Page 13 of 76




                         Whenever Communications Computing Device Inventory Item



     Description of device: Office PC, Acer tower, PC name ="Janlce"

     Make and Model; Acer Aspire TC-780

     Serial number or unique ID: DTB89AA00865100B9A3000

     Operating System of device: Windows 10 home

     Time period In use between 1/16/2016 to present: Mid 2017 to present

     All users of device during same time period: Janice

     Locations of equipment during same time period: Florida Store

     Ifdevice is no longer In use, last person to have custody: still in use



    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                   WC 000248



                                                EXHIBIT A - 08
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1315 Page 14 of 76




                         Whenever Communications Computing Device inventory Item

    Description of device

     Sarasota Lobby PC "srqfrontdemo"



    Make and Model

     HP All-in-One




    Serial number or unique ID

     TJ1708ND5J




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     To present



    All users of device during same time period

     "User"




    Locations of equipment during same time period

     Florida




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo'

    Chrome = no results found

    Edge = no results found
    IE = no results found




                                                                                   WC 000249



                                                EXHIBIT A - 09
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1316 Page 15 of 76




                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Robert's computer "Robert"



    Make and Model

     HP HPE-570twm




    Serial number or unique ID

     2MF1020W99




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     Pre 2016 to present



    All users of device during same time period

     Filip, Robert, SPS-Guest



    Locations of equipment during same time period

     Florida Office




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo'

    Chrome = no results found

    Edge = no results found
    IE = no results found




                                                                                   WC 000250



                                                EXHIBIT A - 10
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1317 Page 16 of 76




                     Office Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Ron's comuter



    Make and Model

     HP Tower Rfrb HPE-570tw




    Serial number or unique ID

     2MF1020W99




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     Pre 2016 to present



    All users of device during same time period

     Ron




    Locations of equipment during same time period

     Florida




    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000251



                                               EXHIBIT A - 11
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1318 Page 17 of 76




    Firefox = No results found




                                                                       WC 000252



                                 EXHIBIT A - 12
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1319 Page 18 of 76




                        Whenever Communications Computing Device Inventory Item

    Description of device

     OPffice PC, Roxie's computer "srqfrontdesk'



    Make and Model

     HP Rfrb HPE-510t




    Serial number or unique ID

     2MF1030K4T




    Operating System of device

     Windows 10 pro



    Time period in use between 1/16/2016 to present

     Pre-2016 to present



    All users of device during same time period

     Roxie, See screenshot below



    Locations of equipment during same time period

     Florida




    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                  WC 000253



                                               EXHIBIT A - 13
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1320 Page 19 of 76




    FIrefox = no results found




    Screen shot of users:

                   T     Users

                 Horns                 Viev/


                                 Thii PC > OS (CO ^ Usere >

                                                                          De!c modified           Type
        4" Quictc access
             Documents
                                 ^    .1 ebotbyt                          7/j5/201S 11:21 AM      File folder
                                       j administrator                    7/i:/201S 11:13 AM      Rlc fpider
         ^ Downleads
                                      . • Administrator.£XT-104           7/31 ;"201g 3:48 PM     nirfcidcr
         fe! Pictures            ^    J: bblackburn                       7,'lt/2t51811:19 AM     Filcfclds.
             Music                         •. bweU                                                File folder

         ^ Videos                     1j                                  7/7r/?01811;7iJAM.      File folder

                                            «hereet                       7«?/®lS 11:7.1AM        File folder
       @ This PC
                                       I dkarey                           7/5;,'2C'lS 11:14 AM    FilefoldeJ

           Ncbrt'ork                   i doconnor                         7/31/7013! 1:19 AM      File folder

                                            drusselt                      7..';5/2f1IS 11:2! AM   Filefoldei

                                            stalman                       7/55/2013 11:12 AM      Fik-folder

                                       4 IT                               7/it/25!8 3;l6PM        File folder

                                           i jbentJey                     7/3?/201S !!;!5AM       Filcfoldcr

                                       ,5 bgalbraith                      7/35/2013 n;!7 AM       Flic-folder

                                       5 famarchand                       7/31/2018 11: !6 AM     f lic folder

                                       J mgaffn^r                         //35/S518 11:19 AM      Filefeldcr

                                        1 Public                          7/;i:/20ie2:j3 PM       flic folder

                                      [ j: ipecb                          7/SV201S 11:29 am       File/elder

                                       J scoughlin                        ?/J'./2<518 11:21 AM    File folder

                                       4 sheicn                           7/r./201S 11:19 AM      Fitttfeldei

                                           ^tcslussf                      7/-d/2018 11:20 AM      Filcfoldtr




      25 items




                                                                                                                 WC 000254



                                                              EXHIBIT A - 14
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1321 Page 20 of 76




                            Whenever Communications Computing Device Inventory Item

    Description of device

     Laptop "PC



    Make and Model

     ASUS




    Serial number or unique ID

     EAN0WUS12181443




    Operating System of device

     Windows 10 HOME




    Time period in use between 1/16/2016 to present

     Pre-2016 to present



    All users of device during same time period

     SEANN




    Locations of equipment during same time period

     Florida Store




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000255



                                                EXHIBIT A - 15
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1322 Page 21 of 76




                        Whenever Communications Computing Device Inventory Item



    Description of device

     Lenovo Tower PC name ="seann"




    Make and Model

     Lenovo Tower




    Serial number or unique ID

     RSOaOJVG




    Operating System of device

     Windows 10 home




    Time period in use between 1/16/2016 to present

     August, 2017



    All users of device during same time period

     Seann




    Locations of equipment during same time period

     Florida Store




    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome Browser:




                                                                                  WC 000256



                                               EXHIBIT A - 16
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1323 Page 22 of 76




    Found 52 search results for 'satmodo'

    Jul 25,2018 Silver File docs.herronlawapc.com

    Jul 25, 2018 2017-02-01 Summons.pdfdocs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com

    Jul 25,2018 Silver File docs.herronlawapc.com

    Jul 25, 2018 S;\Satellite Phone Store\Satmodo Matter\Joint Motion to Compel re Discovery Dispute No.
    revwpd.wpd docs.herronlawapc.com

    Jul 25, 2018 2016-09-27 Response Ltr to Satmodo.pdfdocs.herronlawapc.com

    Jul 25, 2018 2016-09-15 Satmodo Demand Ltr.pdf docs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com

    Jul 25, 2018Supoena-Guide-for-ldentifying-Anonvmous-lnternet-Posters.pdf docs.herronlawapc.com

    Jul 25, 2018 satmodo-technologvprofile.pdf docs.herronlawapc.com

    Jul 25, 2018 satmodo - relationship profile.pdfdocs.herronlawapc.com

    Jul 25, 2018 clickfraud.pdf docs.herronlawapc.com

    Jul 25, 2018 S:\Satellite Phone Store\Satmodo Matter\Working\SUMMARY TOTAL OF FRAUDULENT
    CLICKS IDENTIFIED BY PLAINTIFF IN FIRST.wpd docs.herronlawapc.com

    Jul 25, 2018 2 SATMOD0000020.0001.XLSX docs.herronlawapc.com

    Jul 25,2018 Dr Michael Sasevich, Thoracic and Cardiac Surgeon in Oklahoma City, OK US News.pdf
    docs.herronlawapc.com

    Jul 25,2018 Pleading Paper docs.herronlawapc.com

    Jul 25, 2018 70.164.119.90 - CA Store.pdf docs.herronlawapc.com

    Jul 25, 2018 2018-04-20 Defs' Oppoto MTC- Blanco Dec.pdf docs.herronlawapc.com

    Jul 25, 2018 Business Entities Filing Document docs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com

    Jul 25,2018 (3) 127Disgorgement of Unlawful Profits into Fluid Recovery Fund.pdf
    docs.herronlawapc.com

    Jul 25,2018 ORDER ON JOINT MOTION for determination of DISCOVERY DISPUTE no. 1 [ECF No. 51]
    docs.herronlawapc.com

    Jul 25,2018 Microsoft Word - Documentl docs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com




                                                                                                     WC 000257



                                              EXHIBIT A - 17
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1324 Page 23 of 76




    Jul 25,2018 Law 360 Article .pdfclocs.herronlawapc.com

    Jul 25,2018 Silver File docs.herronlawapc.com

    Jul 25,2018 Combined Text Messages Angelo Phone l.pdf docs.herronlawapc.com

    Jul 25, 2018 Combined Text Messages.pdf docs.herronlawapc.com

    Jul 25, 2018 Silver File docs.herronlawapc.com

    Jul 25, 2018 Combined Text Messages Angelo Phone 2.pdf docs.herronlawapc.com

    Jul 24, 2018
    https://docs.herronlawapc.com/docs/Satelllte%20Phone%20Store/Satmodo%20Matter/Depo%20Trans
    crlpts/BOLES%2C%20Thrlka/2018-04-23%20BOLES%2C%20Thrlka%20Deposltlon%20Transcrlpt%2C.pdf
    docs.herronlawapc.com

    Jul 24, 2018 Silver File docs.herronlawapc.com

    Jul 24, 2018 Silver File docs.herronlawapc.com

    Jul 24, 2018 Silver File docs.herronlawapc.com

    Jul 24,2018 Silver File docs.herronlawapc.com

    Jul 24, 2018 Silver File docs.herronlawapc.com

    Jul 24,2018 Subpoena .pdfdocs.herronlawapc.com

    Jul 23, 2018 Silver File docs.herronlawapc.com

    Jul 23, 2018 Silver File docs.herronlawapc.com

    Jul 23,2018 Silver File docs.herronlawapc.com

    Jul 23,2018 Silver File docs.herronlawapc.com

    Jul 23,2018 2018.04.18 Documents Produced by Frontier to Satmodo Subpoena.PDF
    docs.herronlawapc.com

    Jul 23, 2018 Silver File docs.herronlawapc.com

    Jul 23, 2018 2018.05.03 Documents Produced by CoxCommunications to Satmodo Subpoena - Copy.PDF
    docs.herronlawapc.com

    Jul 23, 2018 Silver File docs.herronlawapc.com

    Jul 23, 2018 Subpoena .pdfdocs.herronlawapc.com

    Jul 23, 2018 Account Information 1648576 docs.herronlawapc.com

    Jul 23, 2018 Account Information 1368075 docs.herronlawapc.com

    Jul 23, 2018
    httPs://docs.herronlawapc.com/docs/Satelllte%2QPhone%20Store/Satmodo%20Matter/Document%20P




                                                                                             WC 000258



                                              EXHIBIT A - 18
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1325 Page 24 of 76




    roductions/ChooDa%20production%20%28rev%207-12-18%29/ACCTID 1287530 report.pdf
    docs.herronlawapc.com

    Jul 23, 2018 Account Information 1114446 docs.herronlawapc.com

    Jul 23, 2018 2018.04.12 AT&T Response to Satmodo Subpoena (cannot comply].PDF
    docs.herronlawapc.com

    Jul 23,2018 Silver File docs.herroniawapc.com



    Internet Explorer = no results found

    Edge = no results found




                                                                                     WC 000259



                                             EXHIBIT A - 19
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                            Whenever Communications Computing Device Inventory Item

    Description of device

     OFFICE TOWER     'Tina"




    Make and Model

     Dell Inspiron 620



    Serial number or unique ID

     SWVPSVl




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     Pre-2016 to present



    All users of device during same time period

     Tina, see attached screenshot of user dir.



    Locations of equipment during same time period

     Florida Office




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found
    IE = no results found




                                                                                      WC 000260



                                                  EXHIBIT A - 20
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1327 Page 26 of 76




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                 -   t      > This PC ? OSDi:k{.C:) » Usm

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           Quick access
                                      Ijtencdslei                                 1;5SPM     Flirt foklrr
        ]® Desktop
                                      abctb>'l                         3aii^20"e.l;l-: m     File foidsr
              Do-//nloads
                                      administrator                    ii/.W?01g1:!5AM       flia forcliff
        jf?| DocumriiK                bbtackburn                       xQiam l:t5 AM         riie fokkr

              Pictures                cparsonc                         5/25'201£ 1:MAM       Fjla folder

        J) Music                      Default.mi^rated                 v/25/2G":6.;:C1 Ab?   S!s folder

                                      DefaultAppPooi                   B/si/'oi&Sisa ?M      fsie fostlar
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      i&k Dn^rive
                                      doccnnor                         3>23ri;0*£: 1:BAM     rik folder

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                                      nmaiicti                                    1:21 AM    Ale fosdcf

                                      nnialictt.SPS-SP.OI              5223r20'!ei;ISAM      fsic folder

                                      psedon                           5/3V2C161-;35 AM      Fsic foklcr
                                      Public                           5/23.-c'G-!?.A:J7AM   Fiic folder

                                      shipping                         5/23'20ia 1:13 AM     ftk fohhr

                                      tcrtega                          5/23/20-:eiiUAM       «k fokltr




     13 (terns




                                                                                                             WC 000261



                                                            EXHIBIT A - 21
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                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Tom's PC



    Make and Model

     HP Tower pavilion slimline



    Serial number or unique ID

     2MF00307WV



    Operating System of device

     Windows 7 Pro




    Time period in use between 1/16/2016 to present

     Pre-2016 to present



    All users of device during same time period

     Tricci, (Tom)



    Locations of equipment during same time period

     Florida Office




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000262



                                                EXHIBIT A - 22
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1329 Page 28 of 76




                           Whenever Communications Computing Device Inventory Item

    Description of device

     Laptop "Joel-SPS'



    Make and Model

     HP Notebook




    Serial number or unique ID

     3CE6074F0C




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     November, 2017 to present



    All users of device during same time period

     Saul, Filip, Sherri, Tyler



    Locations of equipment during same time period

     Mexico Store




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                     WC 000263



                                                EXHIBIT A - 23
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                            Whenever Communications Computing Device Inventory item

    Description of device

     Laptop DESKTOP-L4G45DR



    Make and Model

     HP ENVYX360




    Serial number or unique ID

     8CG7313NW8




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     November 2017 to present



    All users of device during same time period

     Osiris




    Locations of equipment during same time period

     Mexico store




    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000264



                                                EXHIBIT A - 24
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                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC- pc name = "Anna"



    Make and Model

     Dell Optiplex 960



    Serial number or unique ID

     7NQMRH1




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     Pre 1-16-2016 to present



    All users of device during same time period.

     "Owner"




    Locations of equipment during same time period.

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000265



                                               EXHIBIT A - 25
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1332 Page 31 of 76




                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC Laptop, Barry's laptop. "Desktop-SGIFICQ"



    Make and Model

     HP Envy




    Serial number or unique ID

     8CG73218YB




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     2018 to Present




    All users of device during same time period.

     'Barry"



    Locations of equipment during same time period.

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use


    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000266



                                               EXHIBIT A - 26
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                                                                       WC 000267



                                EXHIBIT A - 27
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                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC- Barry's office. Pc name = 'Barry-pc'



    Make and Model

     Dell Optiplex 9020



    Serial number or unique ID

     BKM8SD2




    Operating System of device

     Windows 7 Pro




    Time period in use between 1/16/2016 to present

     Oct, 2016 to present



    All users of device during same time period.

     "Barry"



    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Still in use


    Browser history Search results for "Satmodo'

    Chrome = no results found

    IE = no results found




                                                                                      WC 000268



                                                EXHIBIT A - 28
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1335 Page 34 of 76




                          Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Crystal's Office "Crystal'



    Make and Model

     Lenovo Desktop Tower



    Serial number or unique ID

     ES10820753




    Operating System of device

     Windows 7 Ultimate




    Time period in use between 1/16/2016 to present

     Pre 1-16-2016 to present



    All users of device during same time period.

     "Sue" Crystal and Tina used this pc



    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome: Found 9 search results for 'satmodo'

    Jul 13,2018 Iridium 9575 is Perfect for Fishing Baja - Yelp www.yelp.com
    Jul 13, 2018 The Iridium GO is on sale for $845 with service. Come in or call for details - Yelp
    www.velp.com




                                                                                                       WC 000269



                                                EXHIBIT A - 29
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1336 Page 35 of 76




    Jul 13, 2018 The Iridium GO is on sale for $845 with service. Come in or callfor details - Yelp
    www.yelp.com

    Jul 13, 2018 Great Iridium sat phone rentals available at the corner of 3rd and Laurell - Yelp
    www.yelp.com

    Jul 13, 2018 Iridium Push to Talk - Yelp www.yelp.com

    Jul 13, 2018 The GO is alive and ready for you - Yelp www.yelp.com

    Jul 13,2018 Photos for Satmodo Satellite Phones - Yelp www.yelp.com

    Jul 13,2018 Iridium 9555 Is perfect for fishing, racing and any remote type of trip - Yelp www.yelp.com

    Jul 13,2018 Iridium 9555 Phone kit..Race ready-Yelp www.yelp.com

    Internet Explorer = no results found

    firefox = 1 result

    https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7278105,-
    117.1635667,17z/data=l4m7!3m6!ls0x80d954b75ce32197:0x52a0fe732e0625bc!8m2!3d32.727806l4d
    -117.161378l9mlllbl




                                                                                                        WC 000270



                                                EXHIBIT A - 30
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                            Whenever Communications Computing Device Inventory Item

    Description of device

     Laptop Eric's laptop "Desktop-SDEUPLS"



    Make and Model

     HP Spectre x360



    Serial number or unique ID

     5CD61858KD




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     Pre-2016 - present



    All users of device during same time period

     Eric and Osiris




    Locations of equipment during same time period

     San Diego



    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000271



                                                EXHIBIT A - 31
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                                                                       WC 000272



                                EXHIBIT A - 32
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                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC-Tower, Eric's PC



    Make and Model

     HP e9250t




    Serial number or unique ID

     MXY95100NJ




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     Pre-2016 to present



    All users of device during same time period

     "Administrator" "Rachel" Eric's computer



    Locations of equipment during same time period

     San Diego



    If device is no longer in use, last person to have custody

     Still in use


    Browser history Search results for "Satmodo"

    Chrome: Found 4 search results for 'satmodo'

    Jul 19,2018Satmodo Satellite Phones - 35 Reviews - Mobile Phones - 2140 4th Ave, Banker's Hill, San
    Diego, CA - Phone Number-Yelp www.yelp.com
    Jun 25, 2018
    https://www.thinkwithgoogle.com/feature/mobile/?domains=satellitephonestore.com,satphonestore.c



                                                                                                     WC 000273



                                                EXHIBIT A - 33
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    om,roadpost.com,bluecosmo.com,satmodo.conn,groundcontrol.com&network=3G
    www.thinkwithgoogle.com

    Jun 25, 2018
    https://www.thinkwithgoogle.com/feature/mobile/?domains=satellitephonestore.com,satphonestore.c
    om,roadpost.com,bluecosmo.com,satmodo.com,groundcontrol.com www.thinkwithgoogle.com

    Jun 25, 2018
    https://www.thinkwithgoogle.com/feature/mobile/?domains=satellitephonestore.com,satphonestore.c
    om,roadpost.com,bluecosmo.com,satmodo.com www.thinkwithgoogle.com

    firefox = no results found

    IE = no results found

    Edge = no results found




                                                                                               WC 000274



                                           EXHIBIT A - 34
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1341 Page 40 of 76




                            whenever Communications Computing Device Inventory Item

    Description of device

     Office PC- Filip's desk pc name = "filip-pc"



    Make and Model

     Dell Inspiron 580



    Serial number or unique ID

     JSB4LM1




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     Pre 1-16-2016 to present



    All users of device during same time period.

     "Filip"



    Locations of equipment during same time period.

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000275



                                               EXHIBIT A - 35
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1342 Page 41 of 76




                         Whenever Communications Computing Device Inventory Item



    Description of device

     Office PC- Front/Reception Desk, Thikra's pc



    Make and Model

     Dell Optiplex 990



    Serial number or unique ID

     D57R0R1




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     Aug, 2018 to present



    All users of device during same time period

     "SPS Admin"




    Locations of equipment during same time period

     San Diego



    If device is no longer in use, last person to have custody




                                                                                   WC 000276



                                                EXHIBIT A - 36
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1343 Page 42 of 76




                        Whenever Communications Computing Device Inventory Item



    Description of device

     iPhone -Tina's current iPhone




    Make and Model

     Apple iPhone



    Serial number or unique ID

     C39WH2TKJCLR




    Operating System of device

     iOS




    Time period in use between 1/16/2016 to present

     June 2018 to present



    All users of device during same time period.

     Tina




    Locations of equipment during same time period.

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use




                                                                                  WC 000277



                                               EXHIBIT A - 37
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1344 Page 43 of 76




                         Whenever Communications Computing Device Inventory Item



    Description of device

     IPhone - Tina's old IPhone




    Make and Model

     Apple IPhone



    Serial number or unique ID

     F2LNQ845G5QL




    Operating System of device

     ICS




    Time period In use between 1/16/2016 to present

     Pre 1-16-2016 to Aug 2016



    All users of device during same time period.

     Tina




    Locations of equipment during same time period.

     San Diego



    Ifdevice Is no longer in use, last person to have custody

     Tina, no longer In use.




                                                                                   WC 000278



                                               EXHIBIT A - 38
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1345 Page 44 of 76




                        whenever Communications Computing Device Inventory Item



    Description of device

     iPhone-Tina's old iPhone




    Make and Model

     Apple iPhone



    Serial number or unique ID

     FCCSG2BTGRXK




    Operating System of device

     iOS




    Time period in use between 1/16/2016 to present

     Aug 2016 to June 2018



    All users of device during same time period.

     Tina




    Locations of equipment during same time period.

     San Diego



    Ifdevice Is no longer in use, last person to have custody

     Tina, no longer in use.




                                                                                  WC 000279



                                               EXHIBIT A - 39
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1346 Page 45 of 76




                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC- pc name = "Jeff'



    Make and Model

     Deli Optiplex 960



    Serial number or unique ID

     68X0TH1




    Operating System of device

     Windows 7 Pro




    Time period in use between 1/16/2016 to present

     Pre 1-16-2016 to present



    All users of device during same time period.

     "Owner"




    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Still in use


    Browser history Search results for "Satmodo":

    Chrome = no results found

    IE = no results found




                                                                                   WC 000280



                                                EXHIBIT A - 40
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1347 Page 46 of 76




                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC Laptop pc name = "Marco'



    Make and Model

     Asus Laptop




    Serial number or unique ID

     GBN0CV12Y72846F




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     Aug 2017 to present



    All users of device during same time period.

     'spasovski"



    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody




    Browser history Search results for "Satmodo":
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000281



                                                EXHIBIT A - 41
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1348 Page 47 of 76




                        Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC- Rafael's computer



    Make and Model

     Lenovo Tower




    Serial number or unique ID

     ES10342761




    Operating System of device

     Windows 7 Ultimate




    Time period in use between 1/16/2016 to present

     Jan 2016 to Present




    All users of device during same time period

     "Rafael"




    Locations of equipment during same time period

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    IE = no results found




                                                                                  WC 000282



                                               EXHIBIT A - 42
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1349 Page 48 of 76




                         whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Barry old PC.



    Make and Model

     Dell Optiplex 980



    Serial number or unique ID

     D92RKM1




    Operating System of device

     Windows 7 Pro




    Time period in use between 1/16/2016 to present

     Feb 2016 to March 2018




    All users of device during same time period.

     Barry



    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Barry. System does not boot




                                                                                   WC 000283



                                                EXHIBIT A - 43
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1350 Page 49 of 76




                        Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC- pc retired from front desk



    Make and Model

     Dei! Optiplex



    Serial number or unique ID

     77YCNS1




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     April 2018 to August 2018



    All users of device during same time period

     "User" and "Thikra"




    Locations of equipment during same time period

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Device at office but not in use. Last used by Thikra.



    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                  WC 000284



                                                EXHIBIT A - 44
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1351 Page 50 of 76




                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC Laptop, Sue's old laptop.



    Make and Model

     Asus




    Serial number or unique ID

     E9N0WU415042396




    Operating System of device

     Windows 8.1




    Time period in use between 1/16/2016 to present

     Aug 2016 to June 2018



    All users of device during same time period.

     "Sue"




    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Sue, not longer in use.



    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                   WC 000285



                                                EXHIBIT A - 45
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1352 Page 51 of 76




                         Whenever Communications Computing Device inventory Item

    Description of device

     Office PC, Thikra old old PC.



    Make and Model

     Lenovo Tower




    Serial number or unique ID

     ES10798057




    Operating System of device

     Windows 7




    Time period in use between 1/16/2016 to present

     Pre 1-16-2016 to April 2018



    All users of device during same time period.

     Thikra




    Locations of equipment during same time period.

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Thikra. System does not boot




                                                                                   WC 000286



                                               EXHIBIT A - 46
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                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Tina old PC.



    Make and Model

     Black Box PC, Thermaltake Case



    Serial number or unique ID

     n/a, system does not boot



    Operating System of device

     Windows 7




    Time period in use between 1/16/2016 to present

     pre 2016 to June 2017



    All users of device during same time period.

     Tina




    Locations of equipment during same time period.

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Tina. System does not boot




                                                                                   WC 000287



                                                EXHIBIT A - 47
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1354 Page 53 of 76




                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC




    Make and Model

     Lenovo Ideacentre




    Serial number or unique ID

     ES10352865




    Operating System of device

     Windows 7




    Time period In use between 1/16/2016 to present
     Pre 1-16-2016 to May 2018



    All users of device during same time period.

     "Trinh'




    Locations of equipment during same time period.

     San Diego



    If device Is no longer in use, last person to have custody

     TrInh. System does not boot




                                                                                   WC 000288



                                                EXHIBIT A - 48
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1355 Page 54 of 76




                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC Showroom Kiosk 1 - Lobby computer



    Make and Model

     HP Aii-ln-One 24-e014




    Serial number or unique ID

     8CC8120VF1




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present




    All users of device during same time period

     "SPSl"




    Locations of equipment during same time period

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000289



                                               EXHIBIT A - 49
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1356 Page 55 of 76




                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC Showroom Kiosk 2 - Lobby computer



    Make and Model

     HP All-ln-One Envy



    Serial number or unique ID

     TJ1704MVT5




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     June, 2018




    All users of device during same time period

     "User" "DefaultuserO"




    Locations of equipment during same time period

     San Diego



    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"

    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000290



                                                EXHIBIT A - 50
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1357 Page 56 of 76




                            whenever Communications Computing Device Inventory Item

    Description of device

     Office PC - Kiosks "SANL0BBY2"




    Make and Model

     HP AII-ln-One24-e014




    Serial number or unique iD

     8CC8130MB7




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     June 2018




    All users of device during same time period

     "SPS2"




    Locations of equipment during same time period

     San Diego



    If device is no longer in use, last person to have custody

     Still In use




    Browser history Search results for "Satmodo'
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000291



                                                EXHIBIT A - 51
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1358 Page 57 of 76




                            whenever Communications Computing Device Inventory Item

    Description of device

     Office PC-Sue's Laptop "SuelaptopAsus"



    Make and Model

     Asus laptop



    Serial number or unique ID

     H5N0WU16985621D




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     Aug 2018 to present



    All users of device during same time period.

     "SueAsus"




    Locations of equipment during same time period.

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                      WC 000292



                                               EXHIBIT A - 52
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                            Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC-Senna's (aka Sue) office. Pc name = 'Senna-pc'



    Make and Model

     Lenovo IdeaCentre Tower




    Serial number or unique ID

     ES10342099




    Operating System of device

     Windows 7 Ultimate




    Time period in use between 1/16/2016 to present

     Pre 1-16-2016 to present



    All users of device during same time period.

     "Senna"




    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Still in use


    Browser history Search results for "Satmodo"

    Chrome: Found 1 search result for 'satmodo'

    Jul 28, 2018 "satmodo" - sue@satphoneservice.com - satphoneservice Mail mail.google.com
    Firefox = no results found

    IE = no results found




                                                                                              WC 000293



                                                EXHIBIT A - 53
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1360 Page 59 of 76




                          Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Tina's Office pc name = "Tina-PC"



    Make and Model

     Dell Optiplex 9020



    Serial number or unique ID

     BKX6SD2




    Operating System of device

     Windows 7 Pro




    Time period in use between 1/16/2016 to present

     Oct. 2016 to present



    All users of device during same time period.

     "Tina"




    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome: 30 results found

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/(5)32.7270172,-
    117.1611492,3a,7Sy,253.03h,81.09t/data=!3m6llell3m4!lsvoK2uqWflFeGeZuirqWX9A!2e0!7il6384!8




                                                                                          WC 000294



                                                EXHIBIT A - 54
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1361 Page 60 of 76




    i8192!4m5!3m4!ls0x80d954b75ce32197:0x52a0fe732e0625bc!8m2!3d32.727806!4d-117.161378
    www.google.com

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+SateIllte+Phones/@32.7270172,-
    117.1611492,3a,75y,192.51h,99.92t/data=!3m6!lel!3m4!lsvoK2uqWflFeGeZuirqWX9A!2e0!7il6384!8
    i8192!4m5!3m4!ls0x80d954b75ce32197:0x52a0fe732e0625bc!8m2!3d32.727806!4d-117.161378
    www.google.com

    Aug 2, 2018 2098 Fourth Ave - Google Maps www.google.com

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7278447,-
    117.161217,3a,75y,256.66h,97.15t/data=l3m6llell3m4lls3ALBq-
    J3zGFFDI2nC5X6gl2e0l7ll6384l8i8192l4m5l3m4lls0x80d954b75ce32197:0x52a0fe732e0625bcl8m2l
    3d32.727806l4d-117.161378 www.google.com

    Aug 2, 2018 Google Maps www.google.com

    Aug 2, 2018 2140 Fourth Ave - Google Maps www.google.com

    Aug2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7277708,-
    117.1611764,3a,90.6y,90t/data=l3m5!lel!3m3!ls3ALBq-
    J3zGFFDi2nC5X6gl2e0!6s%2F%2Fgeol.ggpht.com%2Fcbk%3Fpanoid%3D3ALBq-
    _l3zGFFDi2nC5X6g%26output%3Dthumbnail%26cb_cllent%3Dmaps_sv.tactile.gps%26thumb%3D2%26
    w%3D203%26h%3D100%26yaw% www.google.com

    Aug 2, 2018https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7277708,-
    117.1611764,3a,90.6y,90t/data=l3m8jle2l3m6!lsAFlQipMWlNpCft3_ggD_46uVP2X0tBlliMpqW6zt6g
    3UI2el0!3el2!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAFlQipMWlNpCft3_ggD_46uVP2X
    0tBlllMpqW6zt6g3U%3Dwll4-h86-k-nol7l640l8i480!4m5l3m4!l www.google.com

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7278068,-
    117.1611766,3a,75y,90t/data=!3m8!le2!3m6!lsAFlQlpM61IEdQ.Trs3nnPj_XJ04RXuvJK9gMxThdBxA-
    q!2elOI3el2!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAFlQipM61IEdQTrs3nnPj_XJ04RXuvJ
    K9gMxThdBxA-q%3Dw203-h203-k-no!7l640!8l640!4m5l3m4lls www.google.com
    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satelllte+Phones/(S)32.7277708,-
    117.1611764,3a,82.5y,90t/data=!3m8lle2!3m6!lsAFlQipMBd77L9AkZz_M749l097KHF7nmREFPf6x3b-
    41l2el0!3el2l6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAFlQipMBd77L9AkZz_M749l097KH
    F7nmREFPf6x3b-41%3Dw203-hl49-k-nol7i750l8i553l4m5l3m4lwww.google.com

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7277708,-
    117.1611764,3a,75y,90t/data=l3m8!le2l3m6llsAFlQipMBd77L9AkZz_M749l097KHF7nmREFPf6x3b-
    41!2el0!3el2!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAFlQipMBd77L9AkZz_M749l097KH
    F7nmREFPf6x3b-41%3Dw203-hl49-k-no!7i750!8i553!4m5!3m4!ls www.google.com

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7277708,-
    117.1611764,3a,82.2y,90t/data=!3m8lle2!3m6llsAFlQipNwLZ4aJs625iVjYOC8-
    dnBEVSuavSoiZMlLIR!2el0!3el2!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAFlQipNwLZ4QJ
    s625iVjYOC8-dnEJEVSuavSoiZMlLIR%3Dw203-hl76-k-no!7i640!8i556l4m5!3m4! www.google.com
    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7277708,-
    117.1611764,3a,75y,90t/data=l3m8!le2!3m6!lsAFlQipNwLZ4aJs625iVjYOC8-




                                                                                           WC 000295



                                          EXHIBIT A - 55
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1362 Page 61 of 76




    dnEJEVSuavSoiZMlLIR!2el0!3el2!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAFlQipNwLZ4CU
    s625iVjYOC8-dnEJEVSuavSoiZMlLIR%3Dw203-hl76-k-no!7i640!8i556!4m5!3m4!ls www.google.com

    Aug 2, 2018 Satmodo Satellite Phones - Google Maps www.google.com

    Aug 2, 2018 Scott LIndsey - Google Maps www.google.com

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/@32.7278068,-
    117.1611766,3a,90.6y,90t/data=!3m8!le2!3m6!lsAFlQlpMWlNpCft3_ggD_46uVP2X0tBlllMpqW6zt6g
    3U!2el0!3el2!6shttps:%2F%2Flh5.googleusercontent.com%2Fp%2FAFlQipMWlNpCft3_ggD_46uVP2X
    0tBlllMpqW6zt6g3U%3Dwll4-h86-k-nol7i640l8l480l4m5l3m4ll www.google.com

    Aug 2, 2018 Satmodo Satellite Phones - Google Maps www.google.com

    Aug 2, 2018 https://www.google.com/maps/place/Satmodo+Satellite+Phones/(S)32.727806,-
    117.1635667,17z/data=l3ml!4bll4mS!3m4!ls0x80d954b75ce32197:0x52a0fe732e0625bc!8m2!3d32.7
    27806l4d-117.161378 www.google.com

    Aug 2, 2018 Satmodo Satellite Phones - Google Maps www.google.com

    Aug 2, 2018 satmodo - Google Maps www.google.com

    Aug 1, 2018 Search results - henaablanco@gmail.com - Gmail mail.google.com

    Aug 1, 2018 leads - henaablanco@gmail.com - Gmail mail.google.com

    Aug 1, 2018
    https://mail.google.com/mail/u/0/#search/satmodo/157de2a0088607b4?projector=l&messagePartld=
    0.1 mail.google.com

    Aug1,2018 Satmodo v. Whenever Communications - henaablanco@gmail.com - Gmail mail.google.com
    Aug 1,2018 SatmodoSatellite Phones- 35 Reviews - Mobile Phones- 21404th Ave, Banker's Hill, San
    Diego, CA - Phone Number - Yelpwww.yelp.com

    Aug 1, 2018 Directions- Satmodo Satellite Phones - Banker's Hill - San Diego, CA www.yelp.com
    Jun 26, 2018 (1) Satmodo Satellite Phones - Home www.facebook.com

    Jun 26, 2018 https://www.facebook.eom/Satmodo/videos/1254098151305572/ www.facebook.com
    Jun 26, 2018 https://www.facebook.com/Satmodo/videos/1133376913377697/ www.facebook.com
    Jun 26,2018 (1) satmodo - Facebook Search www.facebook.com


    Internet Explorer = no results found




                                                                                                    WC 000296



                                             EXHIBIT A - 56
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                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC, Trinh's office "Desktop-PI2sv42"



    Make and Model

     Dell Optiplex 990



    Serial number or unique ID

     9K7GVR1




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     Pre 1-16-2016 to present



    All users of device during same time period.

     "user" Trinh




    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found
    IE = no results found




                                                                                   WC 000297



                                                EXHIBIT A - 57
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                         Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC Laptop, Tyler's laptop. "Tylerslaptop"



    Make and Model

     HP Envy




    Serial number or unique ID

     8CG73218Z2




    Operating System of device

     Windows 10 Home




    Time period in use between 1/16/2016 to present

     2018 to Present




    All users of device during same time period.

     "Tyler"



    Locations of equipment during same time period.

     San Diego



    If device is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                   WC 000298



                                                EXHIBIT A - 58
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1365 Page 64 of 76




                        Whenever Communications Computing Device Inventory Item

    Description of device

     Office PC-Tyler's desk



    Make and Model

     HP Pavilion Slimline




    Serial number or unique ID

     2MF10208T5




    Operating System of device

     Windows 10 Pro




    Time period in use between 1/16/2016 to present

     January, 2018



    All users of device during same time period

     User = Tyler



    Locations of equipment during same time period

     San Diego



    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo"

    Chrome: Found 2 search results for 'satmodo'

    May 17, 2018 satmodo - Google Search www.google.com
    May 17, 2018 (3) Satmodo Satellite Phones - Home www.facebook.com




                                                                                  WC 000299



                                               EXHIBIT A - 59
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1366 Page 65 of 76




    Edge = no results found

    IE = no results found




                                                                       WC 000300



                                EXHIBIT A - 60
Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1367 Page 66 of 76




                          Whenever Communications Computing Device Inventory Item

    Description of device

     Home PC at Tina's house "Tina-PC"




    Make and Model

     Dell Optiplex 9010



    Serial number or unique ID

     48G2XX1




    Operating System of device

     Windows 7 Pro




    Time period in use between 1/16/2016 to present

     Pre-2016 to present



    All users of device during same time period

     Tina




    Locations of equipment during same time period

     Las Vegas, NV



    Ifdevice is no longer in use, last person to have custody

     Still in use




    Browser history Search results for "Satmodo'
    Chrome = no results found

    Edge = no results found

    IE = no results found




                                                                                    WC 000301



                                               EXHIBIT A - 61
        Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1368 Page 67 of 76



         m
 McCORMlCK
 BARSTOW LLP                         August 1, 2018
 ATTORNEYS AT LAW




             SoonJ. Ivy
                                     VIA EMAIL AND U S Mail
   scott.ivy@(nccaniickb3istow.oom

                                     Matthew V. Herron, Esq.
        FRESNO,CA OFFICE
      7647 Nofth Fresno Street
                                     HBRRON LAW, APC
          Fresno. CA 93720
           P.O. Box 28912
                                     350 Tenth Avenue, Suite 880
       Fresno. CA 93729^12
      TeleplMrw (559)433-1300
                                     San Diego, CA 92101-3545
         Fax(559)433-2300

                                     Re:      Satmodo. LLC v. Whenever Communications. LLC, et al.
                                              Our File No,: 18265-00000

                                     Dear Mr. Herron:

                                     Pursuant to Judge Nita L. Stormes' Order dated July 20, 2018 regarding Discovery
                                     DisputeNo. 1granting the requestto inspectthe devices ofWheneverCommunications,
                                     LLC and its employees, the parties have 30 days from the date ofthe Order to coordinate
                                     the inspection of the devices at your client's San Diego office. A copy of the Order is
                                     enclosed for your reference.

                                     As set forth in the Order it is necessary for experts for both parties to attend the
                                     inspection. Our expert from Lighthousecan be available in San Diegoon August 16,17
                                     or 20, 2018. Please advise as to whether your expert, I presume Mr. Kent, can be
                                     available to attend the inspection on any of those dates.

                                     Due to the time constraints imposed by Judge Storme, I would appreciate a prompt reply
         Other offices of
  HcCORHtCK, BAftSTCW. SKB>PARO
                                     regarding your and your expert's availability. Your cooperation in this regard is
     WAY1EAN0CARRUTH.LLP
                                     appreciated.
  www.mccormidrbarstow.com

                                     Very truly yours.
  BAKERSFIELD, CA OFFICE
 5060 California Ave.. Suite 1090
  Bakerslielcf. California 93309
    Telephone 661-616-1594
        Fax 661-616-1595             /s/Scott J. Ivy
   CtNCINNATI, OH OFFICE
                                     Scott J. Ivy
   Scripps Center. Suite 1050        McCormick Barstow LLP
        312 Walnut Street
     Cincinnati. Ohio 45202
   Telephone (513) 762-7520
      Fax (513) 762-7521             SJLmkg
                                     Enclosure
     DENVER, CO OFFICE
   999 18m Street. Suite 3000
    Denver. Colorado 80202           18265-00000 5256582.1
   Telephone (720) 262-8126
       Fax (720) 282-8127


    LAS VEGAS, NV OFFICE
8337 West Sunset Road. Suite 350
    Las Vegas. Nevada 89113
    Telephone (702)949-1100
       Fax (702)949-1101


     (MODESTO,CA OFFICE
       11251 Street. Suite 1
    Modesto, California 95354
    Telephono (209) 524-1100
       Fax (209)524-1188




                                                             EXHIBIT B - 01
        Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1369 Page 68 of 76

Scott Ivy

From:                                             Scott Ivy
Sent:                                             Wednesday, August 22, 2018 11:06 AM
To:                                               Scott Ivy
Subject:                                          FW: Satmodo v. Whenever Communications
Attachments:                                      WC 243-WC 301.pdf




From: Ken Lau Fmailto:klau(Q)herronlawapc.com1
Sent: Friday, August 10, 2018 1:01 PM
To: Devon McTeer
Cc: Matthew Herron; Tammy Dos Santos
Subject: Satmodo v. Whenever Communications

Counsel:

Defendants produce the attached documents, bates numbered WC 000243 to WC 000301, pursuant
to the Court's July 20, 2018 Order.

Regards,
KEN       LAU
klauflherronlawapc.com
mtel    619 ra233 4122
tnfax   619 n233 3709




  Diamond View Tower                       350 tenth avenue              suite 880


          sen diego                              California               92101




WA paperless office implementing Silvetfile paperless technology
   www.silverfilecorD.com




                                                                   EXHIBIT B - 02
        Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1370 Page 69 of 76




McCOKMlCK
BARSTOW LLP                        August 15,2018
ATTORNEYS AT LAW




           ScottJ. Ivy
  scotUvyOcncconridibontDwxcKn     Via E-Mail and U.S. Mail

      FRESNO.CAOmCS                Matthew V. Herron
     7647 NortiFtesno Street
        FfCtno.CA93720             HERRONLAW,APC
         P.a Box28912
      FreiM,CA 93729^12            350 Tenth Avenue, Suite 880
     Telepl«ne{SS9)433-t300
        Fax(SS6) 433-2300          San Diego, CA 92101-3545


                                   Re:      Satmodo. LLC v. Whenever Communications. LLC, et al.
                                            USDC, Southern District, Case No. 17-CV-0192-AJB NLS
                                            Our File No.: 18265-00000



                                   Dear Mr. Herron:

                                   As of this morning, we have not received your Supplemental Responses to
                                   Interrogatories thattheCourt ordered beprovided byAugust 10th. Iftheresponses were
                                   in factserved, please let us know this morning when and how they were served.
                                   Wehave also notreceived any response to ourrequest, asalso ordered bytheCourt, as
                                   to available dates to complete the inspections ordered by the Court. Please provide a
                                   response this morning with several dates inthenext couple ofweeks that your expert is
                                   available so we can schedule the inspections. If you do not intend to provide dates or
         Otktrofictsof             allow an inspection, please let us know that is your position.
 MeCOtOBO^ BARSTOW,SKEPFARO
     WAYTEAtOCARRUTHUP
                                   Your prompt attention to these issues is appreciated.
  www.meoormickbsrstow.cQm


  bakersfeeia ca ofrce
                                   Very truly yours.
S060 Csltfomia Ave.. Suits 1090
  Bstrflrsfistd, Cafilomia 93309
    TeIeplton«661-616-1S94
       Fax 661-618-1595


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   Scflpps Center, Suits 1050
                                   Scott J. Ivy
        312 Walnut Street          McCormick Barstow LLP
     CinctnnBti, Ohio 45202
   Tetephone (513)762-7520
      Fax (513) 762-7521
                                   SJLdmh
     DENVER. CO OFFICE
   99918th Street, Suits 3000      18265-00000 5286788.1
    Denver, Colorado 80202
   Telsphono (720)282-8126
      Fax (720)282-8127

   IJ1SVE0AS.NV OFRCE
8337 West Sunset Road, Suits 350
   Las Vogas, Nevada 89113
   TelatRwno (702) 949-1100
      Fax (702) 949-1101


     MODESTO, CA OFRCE
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    Modesto, Caltfon^a95354
    Tetephons(209)524-1100
       Fox(209)^4-1188




                                                            EXHIBIT B - 03
      Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1371 Page 70 of 76

Dawn M. Houston

From:                                         Tammy Dos Santos <tdossantos@herronlawapc.com>
Sent:                                         Wednesday, August 15, 2018 11:35 AM
To:                                           Dawn M. Houston
Cc:                                           mherron@herronlawapc.com; Scott Ivy; Michelle Gagnon; Ken Lau
Subject:                                      Re: Satmodo LLC v. Whenever Communications, LLC



Counsel,

In response to your letter of today's date regarding the our supplemental response to interrogatories ordered by
the court, we provided those responses to youon Friday, August 10,2018, by way of Mr. Lau's email to you on
that date that includeda complete Device Inventory with browser search results.

Regarding available dates for the inspection ordered by the court, please provide dates that your expert is
available and we will do our best to accomodate his availability.

Best regards.

Tammy

On Wed, Aug 15, 2018 at 10:24 AM, Dawn M. Houston <Dawn.Houston@mccormickbarstow.com> wrote:




                                                    DAWN M HOUSTON


               W
        M c C 0 RM 1C K
                                                    Secretary

                                                    McCormick Barstow, LLP
                                                    7647 North Fresno Street
                                                    P.O. 60x28912
                                                    Fresno. OA 93729-8912
        BARSTOW LLP                                 (559) 433-1300 main
                                                    (559) 433-2300 fax
        A ! M) K 'vl h YS   A      A W
                                                    Dawn .Houston@mccormickbarstow.com

        vvvw. mccor m ickbar stow.com


      FRESNO    •   BAKERSFIELO         •   CINCINMAII   •   DENVER       •    LAS VEGAS   •   MODESTO



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transmission in error, please immediately notify us by forwarding this to info@mccormickbarstow.com oi by
                                                                                1

                                                                   EXHIBIT B - 04
          Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1372 Page 71 of 76
 telephone at (559) 433-1300, and desti'oy the original transmission and its attachments without reading or
 saving it in any manner. Thank you.




 TAMMY DOS SANTOS
 tdossantosOherronlawapc♦com
 tel 619 233 4122
 fax 619 233 3709




                       1law
                       j


1DiamondView Tower j 350tenth avenue                                   suite 880



1 san diego j                           California                       93.101




 A pBperifc:;;s oftV.i.? iiupien3f-tis.ini? SilverFile pap^^rlcss lef.iiiioiojsy
 www.silverfilecorp.com




                                                                                   EXHIBIT B - 05
      Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1373 Page 72 of 76


Dawn M. Houston

From:                           Tammy Dos Santos <tdossantos@herronlawapc.com>
Sent:                           Wednesday, August 15, 2018 11:53 AM
To:                             Dawn M. Houston
Cc:                             mherron@herronlawapc.com; Scott Ivy; Michelle Gagnon; Ken Lau
Subject:                        Re: Satmodo LLC v. Whenever Communications, LLC


Counsel,

As a follow-up to my previous email about scheduling in the inspection. Please be advised that the inspection
will need to take place after 3:00 p.m. or on the weekend. With those scheduling parameters, please provide
your expert's availability.

Thank you.

Best regards,

Tammy

On Wed, Aug 15,2018 at 11:34 AM, Tammy Dos Santos <tdossantos@herronlawapc.com> wrote:
Counsel,

In response to your letter of today's date regarding the our supplemental response to interrogatories ordered by
the court, we provided those responses to you on Friday, August 10, 2018, by way of Mr. Lau's email to you on
that date that included a complete Device Inventory with browser search results.

Regarding available dates for the inspection ordered by the court, please provide dates that your expert is
available and we will do our best to accomodate his availability.

Best regards,

Tamniy

On Wed, Aug 15, 2018 at 10:24 AM, Dawn M. Houston <Dawn.Houston@mccormickbarstow.com> wrote:




                                                EXHIBIT B - 06
     Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1374 Page 73 of 76


Dawn M. Houston

From:                             Scott Ivy <Scott.Ivy@mccormickbarstow.com >
Sent:                             Wednesday, August 15, 2018 1:38 PM
To:                               Tammy Dos Santos'
Cc:                               mherron@herronlawapc.com; Michelle Gagnon; Ken Lau; Scott Ivy; Dawn M. Houston
Subject:                          RE: Satmodo LLC v. Whenever Communications, LLC


Ms. Santos


I am In receipt of the document provided by Mr. Lau to Ms. McTeer on Friday. Please make sure in the future that I am
copied on all communications to my office.

While I think the document transmitted from counsel is attempting to provide much of the responsive information, what
we requested and the Court ordered were responses to Interrogatories Nos 1-5, verified by your clients.

Please advise if those verified responses were also provided on Friday to Ms. McTeer, as she is currently out of the
office.


Scott




From: Tammy Dos Santos rmailto:tdossantos@herronlawapc.com1
Sent: Wednesday, August 15, 2018 11:35 AM
To: Dawn M. Houston
Cc: mherron@herronlawaDc.com: Scott Ivy; Michelle Gagnon; Ken Lau
Subject: Re: Satmodo LLC v. Whenever Communications, LLC

Counsel,

In response to your letterof today's date regarding the our supplemental response to interrogatories ordered by
the court, we provided those responses to you on Friday, August 10,2018, by way of Mr. Lau's email to youon
that date that included a complete Device Inventory with browser search results.

Regarding available dates for the inspection ordered by the court, please provide dates that your expert is
available and we will do our best to accomodate his availability.

Best regards.

Tammy

On Wed, Aug 15, 2018 at 10:24 AM, Dawn M. Houston <Dawn.Houston@mccormickbarstow.com> wrote:




                                                   EXHIBIT B - 07
     Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1375 Page 74 of 76


Dawn M. Houston

From:                             Tammy Dos Santos <tdossantos@herronlawapc.com>
Sent:                             Wednesday, August 15, 2018 2:31 PM
To:                               Scott Ivy
Cc:                               Matthew Herron; Michelle Gagnon; Ken Lau; Dawn M. Houston
Subject:                          Re: Satmodo LLC v. Whenever Communications, LLC
Attachments:                      118081516375002721.png


Counsel,

Please be advised that we supplemented the earlier responses in the same manner we have done so in the past
without objection.

Best regards,

Tammy




On Wed, Aug 15, 2018, 1:37 PM Scott Ivy <Scott.Ivv@mccormickbarstow.com> wrote:



 Ms. Santos




 I am in receipt of the document provided by Mr. Lau to Ms. McTeer on Friday. Please make sure in the future that I am
 copied on all communications to my office.




 While I think the document transmitted from counsel is attempting to provide much of the responsive information,
 what we requested and the Court ordered were responses to Interrogatories Nos 1-5, verified by your clients.




 Please advise if those verified responses were also provided on Friday to Ms. McTeer, as she is currently out of the
 office.




 Scott




                                                   EXHIBIT B - 08
      Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1376 Page 75 of 76


Dawn M. Houston

From:                              Scott Ivy <Scott.Ivy@mccormickbarstow.com >
Sent:                              Wednesday, August 15, 2018 3:34 PM
To:                                Tammy Dos Santos'
Cc:                                Matthew Herron; Michelle Gagnon; Ken Lau; Dawn M. Houston; Scott Ivy
Subject:                           RE: Satmodo LLC v. Whenever Communications, LLC


Ms. Santos


Ifyou are referring to the prior "List" of IP addresses that your office provided previously, the insufficiency of that
unverified list, rather than verified responses to the actual Interrogatories, was one of the main arguments we made in
connection with the Motion.


In its Order, the Court noted our concerns that an unverified list provided by counsel was not sufficient that that verified
responses to the interrogatories were of particular importance here due to concerns with compliance with our prior
evidence preservation letter. (See Court's Ruling at pages 4-6). As a result, the Court specifically Ordered that your
clients were "must provide verified responses to Interrogatories 1-5 by no later than August 10, 2018", and not simply
provide another unverified list through counsel.

Please provide verified responses so we can proceed with the inspections.

Scott




From: Tammy Dos Santos [mailto:tdossantos@herronlawapc.com]
Sent: Wednesday, August 15, 2018 2:31 PM
To: Scott Ivy
Cc: Matthew Herron; Michelle Gagnon; Ken Lau; Dawn M. Houston
Subject: Re: Satmodo LLC v. Whenever Communications, LLC

Counsel,

Please be advised that we supplemented the earlier responses in the same manner we have done so in the past
without objection.

Best regards.

Tammy




On Wed, Aug 15, 2018, 1:37 PM Scott Ivy <Scott.Ivv@.mccormickbarstow.com> wrote:



 Ms. Santos




                                                    EXHIBIT B - 09
        Case 3:17-cv-00192-AJB-MSB Document 59 Filed 08/22/18 PageID.1377 Page 76 of 76




IVIcCOKlVllCK
BARSTOW LLP                        August 20,2018
ATTORNEYS AT LAW




           ScaaJ-hor
  ico8Jvy6(reconDicttsntM.com      Via E-Mail and U.S. Mail


      nt£SKO.CAOFFICe              Matthew V. Herron, Esq.
     7647Nocfli FresnoSMei
        Fresa).a93720              Tammy Dos Santos
         P.O. Box 28912
      Fre$nACA9372989t2            HERRON LAW, AFC
     Telephoi»(559) 433-1300
        Fax(559] 433-2300          350 Tenth Avenue, SuiteSSO
                                   San Diego, CA 92101-3545


                                   Re:     Satmodo. LLC v. Whenever Communications. LLC, et aL
                                           USDC, Southem District, Case No. 17-CV-0192-AJB NLS
                                           Our File No.: 18265-00000



                                   Dear Mr. Herron & Ms. Dos Santos :

                                             As previously requested, please provide us with supplemental responses to
                                   Interrogatories Nos. 1-5 verified by your client so we can proceed with the inspection
                                   also ordered by the Court.

                                               As to the inspections, ourexpert is available to proceed with the inspection
                                   outlined in the Court's Order on eitherFriday September 14th(with additional timeon
                                   Saturday the 15th as needed), or Friday September 28th (with additional time on
         OttMrofflcraof            Saturday the 29th as needed). Pleaseconfirm whichof thosedates works beston your
 UeOO«yBCKiGARSTOW.SKB>PARD
    WAYIEA»>CARRUTH,UJ>            end andthat all of the San Diego location devices will be available for inspection.
  www.mcoonntcl(t>aratow.oom


  8AKERSFIEL0, CA OFRCE
 S060 Cslifomia Ava., Suite 1090
  BakersfieM, California 93309
                                   Very truly yours.
    Telephone 681-616-1S94
       Fax661-«1B-1595


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    Clndnneti, Otdo 45202
   Telephone (513) 762>7S20        McCormick Bj
      Fax (513) 762-7521


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    Denver, Color^ 80202
   Telephone (720) 282-8126        I826S-OOOOOS29462I.I
       Fax (720) 282-8127


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6337 West Sunset Road, Suite 350
   Lbs Vegas, Nevada 69113
   Telephone (702) 949-1100
       Fax (702) 949-1101


    MODESTO, CA OFFICE
     11251 Street, Suile 1
    Modesto, Catifbmia95354
   Telephone(209) 524-1100
       Fax (209) 524-1188




                                                             EXHIBIT B - 10
